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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH CAROLINA
BEAUFORT DIVISION

RICHARD ALEXANDER MURDAUGH,
JR.,
Plaintiff, Civil Action No.: 9:24-cv-04914-RMG

)

)

)

)

v. ) JURY TRIAL DEMANDED

)

BLACKFIN, INC., WARNER BROS. )

DISCOVERY, INC., WARNER MEDIA _)

ENTERTAINMENT PAGES,  INC., )

CAMPFIRE STUDIOS, INC., THE )

CINEMART LLC, NETFLIX, INC., )

GANNETT CO., INC. and MICHAEL M._)

DEWITT, JR., )
Defendants. )

PLAINTIFF’S MOTION TO REMAND

PLEASE TAKE NOTICE that the Plaintiff, Richard Alexander Murdaugh, Jr., through his
undersigned counsel, moves for an Order remanding this action to the Hampton County Court of
Common Pleas and awarding attorneys’ fees and costs pursuant to 28 U.S.C. § 1447. Defendants
Netflix, Inc. and The Cinemart LLC (collectively “Defendants”) removed this action from the
Hampton County Court of Common Pleas based on an allegation that Defendant Michael M.
DeWitt, Jr. is an improperly-joined party. However, the Defendants cannot meet their burden of
establishing fraudulent joinder, and in fact they lack an objectively reasonable basis for the
removal of Plaintiffs action to this Court. For these reasons and those detailed in his
contemporaneously filed memorandum in support, Plaintiff's Motion to Remand to the Hampton

County Court of Common Pleas and application for attorneys’ fees and costs should be granted.

[SIGNATURE PAGE TO FOLLOW]
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KENT LAW FIRM, LLC

/s/ Shaun C. Kent

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